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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                            :           CASE NO. 21-54965-LRC
                                                  :
MICHAEL SCOT FLECK,                               :           CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :

                                  CERTIFICATE OF SERVICE

       This is to certify that on July 1, 2022, I, Michael J. Bargar, caused to be served a true and
correct copy of the NOTICE OF MOTION FOR ORDER AUTHORIZING SETTLEMENT
BETWEEN TRUSTEE AND JPMORGAN CHASE BANK, N.A. UNDER RULE 9019 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE; DEADLINE TO OBJECT; AND FOR
HEARING [Doc No. 31] (“Notice”) by first class United States mail, postage prepaid, on the
following persons or entities at the addresses stated:

Office of the United States Trustee                   Stephanie K. Sheppard
362 Richard B. Russell Building                       Sheppard Legal Services, LLC
75 Ted Turner Drive, SW                               1141 Sheridan Road, NE
Atlanta, GA 30303                                     Atlanta, GA 30324-3714

S. Gregory Hays                                       Michael Scot Fleck
Hays Financial Consulting, LLC                        518 Grist Valley Lane
2964 Peachtree Rd, NW, Suite 555                      Cary, NC 27518
Atlanta, GA 30305
                                                      Tania R. Tuttle
                                                      McLain & Merritt, PC
                                                      11625 Rainwater Drive, Ste 125
                                                      Alpharetta, GA 30009

        This is to certify further that on July 1, 2022, I, Michael J. Bargar, caused to be served
copies of the Notice by first class United States mail, postage prepaid, on all of those entities set
forth on Exhibit “A” at the addresses stated.

         Respectfully submitted this 1st day of July, 2022.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Chapter 7 Trustee

                                                      By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                               Michael J. Bargar
Atlanta, Georgia 30363                                        Georgia Bar No. 645709
Phone: (404) 873-8500                              michael.bargar@agg.com


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                             EXHIBIT “A” FOLLOWS




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